Case 3:16-cv-04520-AET-TJB Document 51 Filed 02/20/19 Page 1 of 1 PageID: 468



NOT FOR PUBLICATION

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 WILLIAM HOOVER, on his behalf and on
 behalf of all others similarly situated,

                    Plaintiff,                         Civ. No. 16-4520

         v.                                            MEMORANDUM ORDER

 SEARS HOLDING CORPORATION,

                    Defendant.

THOMPSON, U.S.D.J.

       IT APPEARING that Defendant has filed for bankruptcy;

       IT IS on this 20th day of February, 2019,

       ORDERED that the Amended Complaint (ECF No. 14) is DISMISSED WITHOUT

PREJUDICE; and it is further

       ORDERED that this case is CLOSED.



                                                           /s/ Anne E. Thompson
                                                           ANNE E. THOMPSON, U.S.D.J.




                                                   1
